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                         Exhibit 2
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 1                  UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
 2
 3     IN RE:    OIL SPILL           )   MDL NO. 2179
       BY THE OIL RIG                )
 4     "DEEPWATER HORIZON" IN        )   SECTION "J"
       THE GULF OF MEXICO, ON        )
 5     APRIL 20, 2010                )   JUDGE BARBIER
                                     )   MAG. JUDGE SHUSHAN
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                              VOLUME 1 of 2
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20
                       Deposition of FREDERICK EUGENE BECK,
21     taken at Pan-American Building, 601 Poydras
       Street, 11th Floor, New Orleans, Louisiana,
22     70130, on December 15, 2011.
23
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25



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04:20   1     some incidents on the variety that daywork
04:20   2     operations that were going on, and there were
04:20   3     some pretty hefty kicks taken on some of those
04:20   4     wells back in the late Nineties.
04:21   5             Q.      Okay.    Do you believe that in --
04:21   6     when you were at Nabors, Nabors had kicks on the
04:21   7     order of 300-plus barrels that had been missed by
04:21   8     the crew?
04:21   9             A.      I -- I have seen that on at least
04:21 10      one, if not two or three occasions.
04:21 11              Q.      Would you agree that catching a kick
04:21 12      within about 20 barrels is what -- is a -- is a
04:21 13      rule of thumb or a sign of good performance by a
04:21 14      drilling crew?
04:21 15              A.      Yeah, I think -- I think the
04:21 16      specific barrel count is dependent upon the --
04:21 17      you know, the rig, the rig arrangements.            But
04:21 18      when you start talking 20 to 30 barrels, I think
04:21 19      you're in the realm, right, the right size that
04:21 20      should be detectible.        And that's a very
04:21 21      difficult detection on a -- on a deepwater rig
04:21 22      according to my understanding.
04:21 23              Q.      Okay.    Dr. Beck, what was
04:21 24      Halliburton's responsibility for its work with
04:21 25      respect to the cementing services that it was


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04:21   1     providing at Macondo?
04:22   2             A.      Well, I think the primary
04:22   3     responsibility is -- is for the -- the -- the
04:22   4     specific slurry and design and testing of the
04:22   5     slurry and then pumping the slurry into the well,
04:22   6     I mean, I think those are the two main
04:22   7     responsibilities that -- that a cementer has.
04:22   8             Q.      And what would you describe as
04:22   9     Sperry-Sun's responsibility for its work with
04:22 10      respect to the mud logging services for the
04:22 11      Macondo well on the DEEPWATER HORIZON?
04:22 12              A.      Well, I think I'd -- I'd mention --
04:22 13      I'd gone over this once before, but I think
04:22 14      their -- their -- their main responsibility is
04:22 15      obviously a monitoring function, to monitor
04:22 16      functions on the rig, data functions on the rig,
04:23 17      to collect samples, to monitor pit volumes and
04:23 18      transfers and -- and be a second set of eyes on
04:23 19      the rig for -- for these monitoring functions
04:23 20      that they have.
04:23 21              Q.      Okay.    Have you done anything to
04:23 22      determine what was actually causing 1,400 psi to
04:23 23      be shown on the drill pipe during a negative
04:23 24      pressure test that took place on April 20th?
04:23 25              A.      I -- to determine what it was?


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